        Case 20-10587-amc                       Doc 60         Filed 04/02/25 Entered 04/02/25 08:59:40                     Desc Main
     Fill in this information to identify the case:            Document Page 1 of 3
 Debtor 1                  Anthony Devero


     Debtor 2              Lakesha S. Devero
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Eastern District of Pennsylvania
                                                                                    (State)
     Case Number:          20-10587-AMC




Form 4100N
Notice of Final Cure Payment                                                                                                            10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  MIDFIRST BANK NKA MIDLAND MRTG                                            24-1

 Last 4 digits of any number you use to identify the debtor's account                         1   1   4   3

 Property Address:                              3843 Albemarle Avenue
                                                Drexel Hill, PA 19026




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                            Amount

 a. Allowed prepetition arrearage:                                                                                    (a)   $        5,914.93

     b. Prepetition arrearage paid by the trustee :                                                                   (b)   $        5,914.93

 c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):                   (c)   $             -0-

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c) and (d)              $             -0-
        paid by the trustee:
     e. Allowed postpetition arrearage:                                                                               (e)   $             -0-

 f.       Postpetition arrearage paid by the trustee :                                                              + (f)   $             -0-

 g. Total. Add lines b, d, and f.                                                                                     (g)   $        5,914.93



 Part 3:             Postpetition Mortgage Payment

 Check one

 ¨ Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                   $
         The next postpetition payment is due on                    /    /
                                                                MM / DD / YYYY

 ý Mortgage is paid directly by the debtor(s).


Form 4100N                                                        Notice of Final Cure Payment                                           page 1
    Case 20-10587-amc                Doc 60    Filed 04/02/25 Entered 04/02/25 08:59:40                              Desc Main
                                               Document Page 2 of 3



Debtor 1     Anthony Devero                                                    Case number (if known) 20-10587-AMC
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within
 21 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full
 the amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees,
 costs, and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all
 postpetition payments as of the date of the response. Failure to file and serve the statement may subject the creditor to
 further action of the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              û/s/ Scott F. Waterman
                    Signature
                                                                                 Date     04/02/2025


 Trustee            Scott F. Waterman

 Address            2901 St. Lawrence Avenue, Suite 100
                    Reading, PA 19606



 Contact phone      (610) 779-1313                                Email   info@ReadingCh13.com




Form 4100N                                        Notice of Final Cure Payment                                              page 2
    Case 20-10587-amc            Doc 60      Filed 04/02/25 Entered 04/02/25 08:59:40                           Desc Main
                                             Document Page 3 of 3



Debtor 1     Anthony Devero                                               Case number (if known) 20-10587-AMC
             Name




History Of Payments
Part 2 - B
Claim ID Name                     Creditor Type                Date       Check # Posting Description                 Amount
28       MIDFIRST BANK NKA MIDLANDPre-Petition
                                  MRTG         Arrears         12/17/2021 17224623Disbursement To Creditor/Principal   211.92
28       MIDFIRST BANK NKA MIDLANDPre-Petition
                                  MRTG         Arrears         01/21/2022 17225598Disbursement To Creditor/Principal   207.55
28       MIDFIRST BANK NKA MIDLANDPre-Petition
                                  MRTG         Arrears         02/18/2022 17226574Disbursement To Creditor/Principal   207.55
28       MIDFIRST BANK NKA MIDLANDPre-Petition
                                  MRTG         Arrears         03/18/2022 17227532Disbursement To Creditor/Principal   207.55
28       MIDFIRST BANK NKA MIDLANDPre-Petition
                                  MRTG         Arrears         04/22/2022 17228550Disbursement To Creditor/Principal   207.55
28       MIDFIRST BANK NKA MIDLANDPre-Petition
                                  MRTG         Arrears         05/17/2022 17229482Disbursement To Creditor/Principal   207.55
28       MIDFIRST BANK NKA MIDLANDPre-Petition
                                  MRTG         Arrears         06/27/2022 17230389Disbursement To Creditor/Principal   207.55
28       MIDFIRST BANK NKA MIDLANDPre-Petition
                                  MRTG         Arrears         07/22/2022 17231381Disbursement To Creditor/Principal   207.55
28       MIDFIRST BANK NKA MIDLANDPre-Petition
                                  MRTG         Arrears         08/19/2022 17232322Disbursement To Creditor/Principal   207.55
28       MIDFIRST BANK NKA MIDLANDPre-Petition
                                  MRTG         Arrears         09/23/2022 17233291Disbursement To Creditor/Principal   207.55
28       MIDFIRST BANK NKA MIDLANDPre-Petition
                                  MRTG         Arrears         10/21/2022 17234259Disbursement To Creditor/Principal   207.55
28       MIDFIRST BANK NKA MIDLANDPre-Petition
                                  MRTG         Arrears         11/18/2022 17235202Disbursement To Creditor/Principal   207.55
28       MIDFIRST BANK NKA MIDLANDPre-Petition
                                  MRTG         Arrears         12/16/2022 17236133Disbursement To Creditor/Principal   207.55
28       MIDFIRST BANK NKA MIDLANDPre-Petition
                                  MRTG         Arrears         01/20/2023 17237075Disbursement To Creditor/Principal   207.55
28       MIDFIRST BANK NKA MIDLANDPre-Petition
                                  MRTG         Arrears         02/17/2023 17237993Disbursement To Creditor/Principal   207.56
28       MIDFIRST BANK NKA MIDLANDPre-Petition
                                  MRTG         Arrears         03/17/2023 17238864Disbursement To Creditor/Principal   207.55
28       MIDFIRST BANK NKA MIDLANDPre-Petition
                                  MRTG         Arrears         04/21/2023 17239792Disbursement To Creditor/Principal   205.31
28       MIDFIRST BANK NKA MIDLANDPre-Petition
                                  MRTG         Arrears         05/19/2023 17240701Disbursement To Creditor/Principal   205.29
28       MIDFIRST BANK NKA MIDLANDPre-Petition
                                  MRTG         Arrears         06/16/2023 17241531Disbursement To Creditor/Principal   205.29
28       MIDFIRST BANK NKA MIDLANDPre-Petition
                                  MRTG         Arrears         07/21/2023 17242369Disbursement To Creditor/Principal   205.29
28       MIDFIRST BANK NKA MIDLANDPre-Petition
                                  MRTG         Arrears         08/18/2023 17243227Disbursement To Creditor/Principal   205.29
28       MIDFIRST BANK NKA MIDLANDPre-Petition
                                  MRTG         Arrears         09/22/2023 17244063Disbursement To Creditor/Principal   205.29
28       MIDFIRST BANK NKA MIDLANDPre-Petition
                                  MRTG         Arrears         10/20/2023 17244874Disbursement To Creditor/Principal   203.04
28       MIDFIRST BANK NKA MIDLANDPre-Petition
                                  MRTG         Arrears         11/17/2023 17245673Disbursement To Creditor/Principal   203.04
28       MIDFIRST BANK NKA MIDLANDPre-Petition
                                  MRTG         Arrears         12/15/2023 17246462Disbursement To Creditor/Principal   203.05
28       MIDFIRST BANK NKA MIDLANDPre-Petition
                                  MRTG         Arrears         01/22/2024 17247267Disbursement To Creditor/Principal   203.04
28       MIDFIRST BANK NKA MIDLANDPre-Petition
                                  MRTG         Arrears         02/16/2024 17248100Disbursement To Creditor/Principal   203.05
28       MIDFIRST BANK NKA MIDLANDPre-Petition
                                  MRTG         Arrears         03/15/2024 17248911Disbursement To Creditor/Principal   203.05
28       MIDFIRST BANK NKA MIDLANDPre-Petition
                                  MRTG         Arrears         04/19/2024 17249749Disbursement To Creditor/Principal   139.72
                                                                                       Total for Part 2 - B:         5,914.93




Form 4100N                                     Notice of Final Cure Payment                                            page 3
